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 Proposed Counsel to the Debtors
 and Debtors in Possession

                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

                                                            )
 In re:                                                     )    Chapter 11
                                                            )
 COTTONWOOD FINANCIAL LTD., et al., 1                       )    Case No. 24-80035 (SWE)
                                                            )
                   Debtors.                                 )    (Joint Administration Requested)
                                                            )

              DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN ORDER
                (I) AUTHORIZING THE REJECTION OF CERTAIN LEASES,
                        (II) AUTHORIZING THE ABANDONMENT
             OF CERTAIN PROPERTY, AND (III) GRANTING RELATED RELIEF

          EMERGENCY RELIEF HAS BEEN REQUESTED. RELIEF IS REQUESTED NOT
          LATER THAN 9:30 A.M. ON FEBRUARY 28, 2024.

          IF YOU OBJECT TO THE RELIEF REQUESTED OR YOU BELIEVE THAT
          EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU MUST APPEAR AT THE
          HEARING IF ONE IS SET, OR FILE A WRITTEN RESPONSE PRIOR TO THE DATE
          THAT RELIEF IS REQUESTED IN THE PRECEDING PARAGRAPH. OTHERWISE,
          THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND GRANT THE
          RELIEF REQUESTED.
          A HEARING WILL BE CONDUCTED ON THIS MATTER ON FEBRUARY 28, 2024, AT
          9:30 A.M. IN EARLE CABELL FEDERAL BUILDING, 1100 COMMERCE STREET, 14TH
          FLOOR, COURTROOM 3, DALLAS, TEXAS, 75242.


 1
  The Debtors in these chapter 11 cases and the last four digits of each Debtors’ federal tax identification number are
 as follows: Cottonwood Financial Ltd. (1001); Cottonwood Financial Administrative Services, LLC (7228);
 Cottonwood Financial Texas, LLC (9059); Cottonwood Financial Idaho, LLC (5651); Cottonwood Financial
 Wisconsin, LLC (7075). The Debtors’ principal offices are located at 2100 W Walnut Hill Lane, Suite 300, Irving,
 TX 75038.




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         PARTICIPATION AT THE HEARING WILL ONLY BE PERMITTED BY AN AUDIO AND
         VIDEO CONNECTION.
         AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN FACILITY.
         YOU MAY ACCESS THE FACILITY AT 1.650.479.3207. VIDEO COMMUNICATION
         WILL BE BY THE USE OF THE CISCO WEBEX PLATFORM. CONNECT VIA THE
         CISCO WEBEX APPLICATION OR CLICK THE LINK ON JUDGE EVERETT’S HOME
         PAGE. THE MEETING CODE IS 476 420 189. CLICK THE SETTINGS ICON IN THE
         UPPER RIGHT CORNER AND ENTER YOUR NAME UNDER THE PERSONAL
         INFORMATION SETTING.
         HEARING APPEARANCES SHOULD BE MADE ELECTRONICALLY IN ADVANCE OF
         ELECTRONIC HEARINGS. TO MAKE YOUR APPEARANCE, CLICK THE
         “ELECTRONIC APPEARANCE” LINK ON JUDGE EVERETT’S HOME PAGE. SELECT
         THE CASE NAME, COMPLETE THE REQUIRED FIELDS AND CLICK “SUBMIT” TO
         COMPLETE YOUR APPEARANCE.


          The above-captioned debtors and debtors in possession (the “Debtors) respectfully state

 the following in support of this motion (this “Motion”):

                                          Relief Requested

          1.      By this Motion, the Debtors seek entry of an order, substantially in the form

 attached hereto as Exhibit A (the “Order”): (a) authorizing the rejection of certain of their

 prepetition unexpired leases of nonresidential real property (collectively, the “Leases”) set forth

 on Exhibit 1 to the Order, (b) authorizing the abandonment of any de minimis equipment,

 furniture, and other personal property, and (c) granting related relief.

                                       Jurisdiction and Venue

          2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334, and this

 is a core matter pursuant to 28 U.S.C. § 157(b).

          3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          4.      The bases for the relief requested herein are sections 105(a), 365(a), and 554(a)

 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), rules

 6006, and 6007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

 rule 9013-1 of the Local Bankruptcy Rules of the United States Bankruptcy Court for the




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 Northern District of Texas (the “Local Rules”), and paragraph 34 of the Procedures for Complex

 Cases in the Northern District of Texas (the “Complex Case Procedures”).

                                             Background

          5.      The Debtors operate one of the largest privately held retail consumer finance

 companies in the United States.       Through its Cash Store® brand, the Debtors offer their

 customers an array of financial products and consumer-lending services, including single

 payment cash advances, installment cash advances and title loans. The Debtors utilize an

 innovative mix of financial technology (fintech) through its online customer portal and brick-

 and-mortar financial products and services through its 181 retail locations across Texas, Idaho

 and Wisconsin.

          6.      On February 25, 2024 (the “Petition Date”), each Debtor filed a voluntary petition

 for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating as debtors in

 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. Concurrently with

 the filing of this Motion, the Debtors have filed a motion requesting procedural consolidation

 and joint administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b). No

 request for the appointment of a trustee or examiner has been made in these chapter 11 cases, and

 no committees have been appointed.

          7.      A detailed description of the Debtors and their businesses, and the facts and

 circumstances supporting this Motion and the Debtors’ chapter 11 cases, are set forth in the

 Declaration of Karen Nicolaou, Chief Restructuring Officer, in Support of Chapter 11 Petitions

 and First Day Motions (the “First Day Declaration”), filed contemporaneously herewith and

 incorporated herein by reference.




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                                   The Debtors’ Unexpired Leases

          8.      As of the Petition Date, the Debtors are party to 230 leases of real property where

 the Debtors have conducted their businesses. The Debtors have evaluated all these leases to

 determine whether such leases should be rejected as part of the chapter 11 process. To that end,

 the Debtors have determined in a good-faith exercise of their business judgment to reject the

 leases listed on Exhibit 1 to the Order (the “Leases”).

          9.      The Debtors have determined in their business judgment that the costs of the

 Leases exceed any marginal benefits that could potentially be achieved from assignments of such

 Leases. The majority of the Leases are the Debtors’ retail locations—locations that are either are

 not profitable, are no longer operating, or are in the process of winding down operations. Prior

 to the proposed rejection of the Leases, the Debtors paid approximately $1,050,000 per month to

 lease their store locations. If rejection of the Leases as of the Petition Date is approved, the

 Debtors’ monthly store rental obligations will be reduced to approximately $850,000. Given that

 the retail locations governed by these Leases are either already shut down prepetition or are

 winding down business and will no longer be operating postpetition, there is no benefit to the

 Debtors’ estates, creditors, or parties in interest in maintaining such Leases.

          10.     Before the Petition Date, the Debtors notified each affected landlord in writing of

 their unequivocal and irrevocable decision to surrender the premises and property and turn over

 keys, key codes, and security codes, if any, to each affected landlord, providing the landlords

 with opportunity to mitigate any rejection damages arising from the rejection of the applicable

 Lease. This Motion shall serve as further notice to reiterate the Debtors’ immediate surrender of

 the premises pursuant to the terms of each Lease listed in Exhibit 1, effective as of the Petition

 Date. Accordingly, to reduce postpetition administrative costs, and in the exercise of their sound




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 business judgment, the Debtors have determined that rejecting the Leases, effective as of the

 Petition Date, is in the best interests of the Debtors, their estates, and their creditors.

          11.     The Debtors do not believe there is any valuable property remaining on the

 premises for the Leases sought to be rejected by this motion. The property to be abandoned

 consist of safes secured to the ground and file cabinets. The Debtors have determined that the

 property is of inconsequential value to the estate, or that the cost of removing and storing such

 property outweighed any potential benefit of retaining such property. Accordingly, to reduce

 postpetition administrative costs and, in the exercise of their sound business judgment, the

 Debtors believe that the abandonment of the property that may be located at each of the

 premises, if any, is appropriate and in the best interests of the Debtors, their estates, and their

 creditors.

                                      Basis for Requested Relief

 I.       The Rejection of Leases Is in the Best Interests of the Debtors’ Estates.

          12.     Section 365(a) of the Bankruptcy Code provides that a debtor in possession “may

 assume or reject any executory contract or unexpired lease of the debtor” subject to the court’s

 approval. 11 U.S.C. § 365(a). Courts generally authorize debtors to assume or reject executory

 contracts and unexpired leases where the debtors appropriately exercise their “business

 judgment.” See, e.g., In re Senior Care Centers, LLC, 607 B.R. 580, 587 (Bankr. N.D. Tex.

 2019) (“A court evaluates whether a lease should be assumed or rejected employing the business

 judgment standard.”) (citation omitted); In re TM Vill., Ltd., No. 18-32770, 2019 WL 1004571, at

 *10 (Bankr. N.D. Tex. Feb. 28, 2019) (“A debtor must satisfy his fiduciary duty to . . . creditors

 and equity holders, by articulating some business justification for using, selling, or leasing the

 property outside the ordinary course of business.”) (internal quotations and alternations omitted)

 (citation omitted).


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          13.     The Debtors have determined, in their sound business judgment, that rejection of

 the Leases set forth on Exhibit 1 attached to the Order are central to the Debtors’ reorganization

 process. The Debtors have carefully reviewed the revenues generated and expenses incurred at

 the Leases and determined, in their business judgment, that the Leases are not necessary to an

 effective reorganization of the Debtors’ business.        In the sound exercise of their business

 judgment, the Debtors have determined that the rejection of the Leases is in the best interests of

 their estates and creditors.

 II.      Retroactively Effective Relief May Be Sought Where Appropriate.

          14.     Section 365 of the Bankruptcy Code does not specifically address whether courts

 may order rejection to be effective retroactively. In the Fifth Circuit, the general rules is that the

 effective date of rejection is the date of entry of the court order rejecting the leases. See, e.g., In

 re Cafeteria Operators, L.P., 299 B.R. 384, 394 (Bankr. N.D. Tex. 2003) (citations omitted).

 However, courts have held that bankruptcy courts may retroactively reject executory contracts

 and unexpired leases based on a “balancing-of-the-equities” standard. See, e.g., In re Cafeteria

 Operators, L.P., 299 B.R. 384, 394 (Bankr. N.D. Tex. 2003) (explaining that “nothing precludes

 a bankruptcy court, based on the equities of the case, from approving the . . . rejection of a non-

 residential real property lease retroactively to an earlier date” and granting retroactive relief for

 contract rejection where debtors were “receiving no benefit” from the lease and the contract

 counterparties “had unequivocal notice of Debtors’ intent to reject prior to the filing of the

 [motions to reject the leases]”); In re Amber’s Stores, Inc., 193 B.R. 819, 827 (Bankr. N.D. Tex.

 1996) (finding that “nothing precludes a bankruptcy court, based on the equities of the case, from

 approving” retroactive rejection and holding that a court may grant retroactive relief “where the

 equities of a case warrant, the court has the power to grant the rejection retroactively”).




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          15.     Here, the balance of equities favors the rejection of the Leases effective as of the

 Petition Date.      Without such relief, the Debtors would potentially incur unnecessary

 administrative expenses related to the Leases. See 11 U.S.C. § 365(d)(3). The landlords will not

 be unduly prejudiced if the rejection is deemed effective as of the Petition Date—possession of

 the premises was delivered to each respective landlord on, or prior to, the Petition Date with an

 unequivocal and irrevocable statement of surrender and abandonment of the premises to such

 landlord. Further, by this Motion, the landlords are receiving notice of the Debtors’ intention to

 reject the Leases and tender immediate possession of the applicable premises. In the event the

 Debtors are unable to turn over possession of a particular premises on or before the Petition

 Date, as anticipated, the effective date of the rejection of such Lease shall be no earlier than the

 date the Debtors turn over the premises.

          16.     The Debtors will cause notice of this Motion to be served on the affected

 landlords, thereby allowing each party sufficient opportunity to respond accordingly.            The

 Debtors have sought the relief requested as soon as possible in these chapter 11 cases and do not

 seek to reject the Leases effective as of the Petition Date due to any undue delay on their own

 part. Accordingly, the Debtors respectfully submit that the Court deem the Leases identified on

 Exhibit 1 to the Order rejected effective as of the Petition Date.

 III.     Abandonment of Personal Property Is in the Best Interests of the Debtors’ Estates.

          17.     Bankruptcy Code section 554(a) provides that “[a]fter notice and a hearing, the

 trustee may abandon any property of the estate that is burdensome to the estate or that is of

 inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). Any property to be

 abandoned at the premises of certain Leases would be of inconsequential value or burdensome to

 the Debtors’ estates, and the cost of retrieving, marketing, and reselling such abandoned property

 would outweigh any recovery the Debtors could attain for such property. Accordingly, the


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 abandonment of such property is in the best interests of the Debtors, their estates, and their

 creditors, and parties in interest will have sufficient notice of such abandonment.

                               Bankruptcy Rules 6006(c) and 6007(a)

          18.     The Debtors request that the Court enter an order providing that notice of the

 relief requested herein satisfies Bankruptcy Rules 6006(c) and 6007(a).

                                        Reservation of Rights

          19.     Nothing contained herein or any actions taken pursuant to such relief requested is

 intended or shall be construed as: (a) an admission as to the amount of, basis for, or validity of

 any claim against a Debtor entity under the Bankruptcy Code or other applicable nonbankruptcy

 law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute any claim on any

 grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission that any

 particular claim is of a type specified or defined in this Motion or any order granting the relief

 requested by this Motion or a finding that any particular claim is an administrative expense claim

 or other priority claim; (e) a request or authorization to assume, adopt, or reject any agreement,

 contract, or lease pursuant to section 365 of the Bankruptcy Code, other than the relief requested

 in the Motion; (f) an admission as to the validity, priority, enforceability, or perfection of any lien

 on, security interest in, or other encumbrance on property of the Debtors’ estates; (g) a waiver or

 limitation of the Debtors’, or any other party in interest’s, rights under the Bankruptcy Code or

 any other applicable law; or (h) a concession by the Debtors that any liens (contractual, common

 law, statutory, or otherwise) that may be satisfied pursuant to the relief requested in this motion

 are valid, and the rights of all parties in interest are expressly reserved to contest the extent,

 validity, or perfection or seek avoidance of all such liens. If the Court grants the requested relief,

 any payment made pursuant to the Court’s order is not intended and should not be construed as




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 an admission as to the validity of any particular claim or a waiver of the Debtors’ or any other

 party in interest’s rights to subsequently dispute such claim.

                                                Notice

          20.     The Debtors will provide notice of this motion to the following parties or their

 counsel: (a) the U.S. Trustee for the Northern District of Texas; (b) the holders of the 30 largest

 unsecured claims against the Debtors (on a consolidated basis); (c) the proposed lender(s) under

 the proposed debtor in possession credit facility; (d) the lenders under the Debtors’ prepetition

 term loan agreement; (e) the counterparties to the Leases; (f) United States Attorney’s Office for

 the Northern District of Texas; (g) the Internal Revenue Service; (h) the state attorneys general

 for states in which the Debtors conduct business; and (i) any party that has requested notice

 pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested, the Debtors

 submit that no other or further notice is needed.

          WHEREFORE, the Debtors respectfully request that the Court enter an order,

 substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

 such other relief as the Court deems appropriate under the circumstances.

          Respectfully submitted this 25th day of February, 2024.

                                                GRAY REED

                                                By: /s/ Lydia R. Webb
                                                    Jason S. Brookner (TX Bar No. 24033684)
                                                    Aaron M. Kaufman (TX Bar No. 24060067)
                                                    Lydia R. Webb (TX Bar No. 24083758)
                                                1601 Elm Street, Suite 4600
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                                                Proposed Counsel to the Debtors
                                                and Debtors in Possession


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                                   Certificate of Service

        I certify that on February 25, 2024, I caused a copy of the foregoing document to be
 served by the Electronic Case Filing System for the United States Bankruptcy Court for the
 Northern District of Texas.

                                               /s/ Lydia R. Webb
                                               Lydia R. Webb




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                                    Exhibit A

                                 Proposed Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                              §
     In re:                                                   §   Chapter 11
                                                              §
     COTTONWOOD FINANCIAL LTD., et al., 1                     §   Case No. 24-80035 (SWE)
                                                              §
                      Debtors.                                §   (Joint Administration Requested)
                                                              §
                                                              §   Re: Docket No. __


                       ORDER (I) AUTHORIZING THE REJECTION OF
                  CERTAIN LEASES, (II) AUTHORIZING THE ABANDONMENT
                OF CERTAIN PROPERTY, AND (III) GRANTING RELATED RELIEF

              Upon the motion (the “Motion”), 2 of the above-captioned debtors and debtors in

 possession (the “Debtors”) for entry of an order (this “Order”), (a) authorizing the rejection of

 certain Leases set forth on Exhibit 1 hereto, (b) authorizing the abandonment of any de minimis

 equipment, furniture, and other personal property, and (c) granting related relief, all as more fully

 1
  The Debtors in these chapter 11 cases and the last four digits of each Debtors’ federal tax identification number are
 as follows: Cottonwood Financial Ltd. (1001); Cottonwood Financial Administrative Services, LLC (7228);
 Cottonwood Financial Texas, LLC (9059); Cottonwood Financial Idaho, LLC (5651); Cottonwood Financial
 Wisconsin, LLC (7075). The Debtors’ principal offices are located at 2100 W Walnut Hill Lane, Suite 300, Irving,
 TX 75038.
 2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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 set forth in the Motion; and upon the First Day Declaration; and this Court having jurisdiction

 over this matter pursuant to 28 U.S.C. § 1334; and this Court having found that this is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a

 final order consistent with Article III of the United States Constitution; and this Court having

 found that venue of this proceeding and the Motion in this district is proper pursuant to

 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of the Motion

 and opportunity for a hearing on the Motion were appropriate under the circumstances and no

 other notice need be provided; and this Court having reviewed the Motion, and all objections, if

 any, to the Motion having been withdrawn, resolved, or overruled; and the Court having

 determined that the legal and factual bases set forth in the Motion and the record of the hearing

 on such motion establish just cause for the relief granted herein; and this Court having found that

 the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors,

 and other parties in interest; and upon all of the proceedings had before this Court; and after due

 deliberation and sufficient cause appearing therefore, IT IS HEREBY ORDERED THAT:

          1.      The Motion is granted as set forth herein.

          2.      The Leases set forth on Exhibit 1 hereto are rejected effective as of the Petition

 Date.

          3.      The Debtors are authorized to abandon property, if any, that may be located at the

 premises and all such property is deemed abandoned effective as of the Petition Date. The

 applicable counterparty to each Lease may effectuate its rights and remedies with respect to such

 property. The automatic stay, to the extent applicable, is modified to allow for such utilization or

 disposition.




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          4.      Approval of this Order will not prevent the Debtors from seeking to assume or

 reject an executory contract or unexpired lease by separate motion or pursuant to a chapter 11

 plan.

          5.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.

          6.      All rights and defenses of the Debtors are preserved, including all rights and

 defenses of the Debtors with respect to a claim for damages arising as a result of an executory

 contract or lease rejection, including any right to assert an offset, recoupment, counterclaim, or

 deduction. In addition, nothing in this Order or the Motion shall limit the Debtors’ ability to

 subsequently assert that any particular executory contract or lease is terminated and is no longer

 an executory contract or unexpired lease, respectively.

          7.      Notwithstanding the relief granted in this Order pursuant to the Motion and any

 actions taken pursuant to such relief, nothing in this Order shall be deemed: (a) an admission as

 to the amount of, basis for, or validity of any claim against a Debtor entity under the Bankruptcy

 Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in

 interest’s right to dispute any claim on any grounds; (c) a promise or requirement to pay any

 claim; (d) an implication or admission that any particular claim is of a type specified or defined

 in this Order or the Motion or a finding that any particular claim is an administrative expense

 claim or other priority claim; (e) a request or authorization to assume, adopt, or reject any

 prepetition agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an

 admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

 in, or other encumbrance on property of the Debtors’ estates; (g) a waiver or limitation of the

 Debtors’ or any other party in interest’s rights under the Bankruptcy Code or any other applicable


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 law; or (h) a concession by the Debtors that any liens (contractual, common law, statutory, or

 otherwise) that may be satisfied pursuant to the Motion are valid, and the rights of all parties in

 interest are expressly reserved to contest the extent, validity, or perfection or seek avoidance of

 all such liens.

          8.       The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

          9.       Notice of the Motion as provided therein shall be deemed good and sufficient

 notice of such Motion and the requirements of Bankruptcy Rules 6006(c) and 6007(a), and the

 Local Rules are satisfied by such notice.

          10.      The requirements of Bankruptcy Rule 6006(f) have been satisfied.

          11.      The terms and conditions of this Order are immediately effective and enforceable

 upon its entry.

          12.      The Debtors are authorized to take all reasonable actions necessary to effectuate

 the relief granted in this Order in accordance with the Motion.

          13.      This Court retains jurisdiction with respect to all matters arising from or related to

 the implementation, interpretation, and enforcement of this Order.

                                      # # # END OF ORDER # # #




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 Submitted by:

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 Proposed Counsel to the Debtors
 and Debtors in Possession




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                                    Exhibit 1

                                 Rejected Leases




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                                                                                                    Abandoned Personal    Rejection
                 Counterparty               Debtor Counterparty        Description of Lease
                                                                                                        Property            Date
                AGP Assets Inc
            c/o SVN/DFW Summit
             3000 Race St, Ste 100                                          C/S#0765
              FT Worth TX 76111             Cottonwood Financial   3050 W Camp Wisdom Rd, Ste               Safe;         February
                                                 Texas LLC                     200                    Filing cabinet(s)   25, 2024
              (v) (817) 288-5525                                      Grand Prairie TX 75052
           (e) jeff.watson@svn.com
             Baco Investments Inc
             1225 Port Houston St
              Houston TX 77029                                               C/S#0789
                                            Cottonwood Financial                                            Safe;         February
                                                                       11400 Gulf Fwy, Ste A
                                                 Texas LLC                                            Filing cabinet(s)   25, 2024
              (v) (832) 874-5577                                         Houston TX 77034
   (e) bacoinvestments@actionragsusa.com
            Bellaire Bissonnet Ltd
                PO Box 56783
           Houston TX 77256-6783                                             C/S#7106
                                            Cottonwood Financial                                            Safe;         February
                                                                         5212 Bellaire Blvd
                                                 Texas LLC                                            Filing cabinet(s)   25, 2024
              (v) (713) 621-3079                                         Bellaire TX 77401
          (e) jay@jaykaplaninc.com
              BJL Properties LLC
                  PO Box 684
            Liberty Lake WA 99019                                           C/S#0803X
                                            Cottonwood Financial                                            Safe;         February
                                                                   675 Kootenai Cut Off Rd, Ste D
                                                 Idaho LLC                                            Filing cabinet(s)   25, 2024
              (v) (509) 998-1773                                        Ponderay ID 83852
             (e) bjl4321@aol.com
     Boekweg Real Estate Holdings LLC
   c/o Reid Peevey Commercial Real Estate
        2420 Wycon Drive, Suite 301                                         C/S#7229
                                            Cottonwood Financial                                            Safe;         February
               Waco TX 76712                                         231 Enterprise Blvd, Ste 1
                                                 Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                         Hewitt TX 76643
               (v) (254) 709-0456
          (e) randy@reidpeevey.com




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                                                                                                       Property            Date
   Buckner Jubilee Investments Group LLC
         c/o The Weitzman Group
         3102 Maple Ave, Ste 500                                           C/S#0723
              Dallas TX 75201              Cottonwood Financial   9208 E R L Thornton Fwy, Ste             Safe;         February
                                                Texas LLC                    207B                    Filing cabinet(s)   25, 2024
               (v) (214) 720-3634                                       Dallas TX 75228
       (e) cbrown@weitzmangroup.com
   CA New Plan Fixed Rate Partnership LP
       c/o Brixmor Property Group
          Attn: General Counsel
        450 Lexington Ave, FL 13
           New York NY 10017

              w/COPY TO:                                                     C/S#7140R
   CA New Plan Fixed Rate Partnership LP   Cottonwood Financial                                            Safe;         February
                                                                      12520 Westheimer Rd, Ste E
       c/o Brixmor Property Group               Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                          Houston TX 77077
          Attn: VP of Legal Svcs
        1525 Faraday Ave, Ste 350
           Carlsbad CA 92008

             (v) (713) 660-4352
     (e) angela.hernandez@brixmor.com
            Carney Texarkana LP
           c/o Carney Mgt Co Inc
         4500 Bowling Blvd, Ste 250                                           C/S#7194
            Louisville KY 40207            Cottonwood Financial                                            Safe;         February
                                                                          410 Walton Drive
                                                Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                         Texarkana TX 75501
             (v) (502) 893-3366
    (e) mcarney@carneymanagement.com
               Chanthol S Baer
               2105 W Gay Ave
             Gladewater TX 75647                                             C/S#7509
                                           Cottonwood Financial                                            Safe;         February
                                                                         101 E Upshur Ave
                                                Texas LLC                                            Filing cabinet(s)   25, 2024
              (v) (903) 452-1091                                        Gladewater TX 75647
         (e) chantholsam@yahoo.com

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                                                                                                   Property            Date
        Cypress Shopping Center LLC
          c/o Spigel Properties Inc
          70 NE Loop 410, Ste 185                                          C/S#7211
           San Antonio TX 78216           Cottonwood Financial                                         Safe;         February
                                                                      12220 Jones Rd, Ste E
                                               Texas LLC                                         Filing cabinet(s)   25, 2024
                                                                       Houston TX 77070
               (v) (210) 801-8514
         (e) tori@spigelproperties.com

                 Danny Foix
            2620 Southwest Pkwy
            Wichita Falls TX 76308                                          C/S#0718
                                          Cottonwood Financial                                         Safe;         February
                                                                     3900 Sheppard Access Rd
                                               Texas LLC                                         Filing cabinet(s)   25, 2024
              (v) (940) 733-7177                                      Wichita Falls TX 76306
         (e) dfgasman@nts-online.net
      DCTN3 Texas Portfolio No. 1 LLC
            c/o N3 Real Estate
          1240 N Kimball Ave                                             C/S#0740
          Southlake TX 76092              Cottonwood Financial                                         Safe;         February
                                                                 2025 S Dumas Ave, Ste 300A
                                               Texas LLC                                         Filing cabinet(s)   25, 2024
                                                                      Dumas TX 79029
              (v) (817) 552-6795
       (e) crodriguez@n3realestate.com
             Deer Park Station LP
           c/o The Weitzman Group
           1800 Bering Dr, Ste 550                                        C/S#7204
              Houston TX 77057            Cottonwood Financial                                         Safe;         February
                                                                 9001 Spencer Highway, Ste C
                                               Texas LLC                                         Filing cabinet(s)   25, 2024
                                                                      La Porte TX 77571
               (v) (713) 781-7111
        (e) creed@weitzmangroup.com
           EG Hulen/Oakmont LLC
           c/o Cassco Mgt Co LLC
           4200 S Hulen St, Ste 614                                        C/S#0751
             FT Worth TX 76109            Cottonwood Financial                                         Safe;         February
                                                                       6270 Oakmont Blvd
                                               Texas LLC                                         Filing cabinet(s)   25, 2024
                                                                       FT Worth TX 76132
               (v) (817) 731-7396
          (e) sheryl@casscoland.com

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                                                                                                        Property            Date
            Eldridge Crossing Ltd
       c/o Property Commerce Mgt Co
          8811 Gaylord Dr, Ste 200                                            C/S#7132
             Houston TX 77024               Cottonwood Financial                                            Safe;         February
                                                                         12621 FM 1960 Rd W
                                                 Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                          Houston TX 77065
             (v) (832) 804-8508
    (e) mroberts@propertycommerce.com
         EQYInvest Owner I Ltd LLP
       c/o Global Realty & Mgt TX Inc
          15866 Champion Forest Dr
              Spring TX 77379                                                 C/S#7197
                                            Cottonwood Financial                                            Safe;         February
                                                                             1456 Fry Rd
                                                 Texas LLC                                            Filing cabinet(s)   25, 2024
               (v) (281) 840-5363                                          Houston TX 77084
      (e) eglackman@gfinvestments.com

                  Estes Center LLC
                  Attn: Mark Nelon
                 6257 Glennox Lane                                            C/S#0755
                  Dallas TX 75214           Cottonwood Financial                                            Safe;         February
                                                                         710 Estes Dr, Ste 104
                                                 Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                         Longview TX 75602
              (v) (214) 871-9746
         (e) hcigeneral@sbcglobal.net
         Frankford Crossing Shopping
             Center Dallas TX LP
             c/o Glazer Properties
              270 Commerce Dr                                                  C/S#0791
                                            Cottonwood Financial                                            Safe;         February
          Rochester NY 14623-3506                                      4701 Frankford Rd, Ste 213
                                                 Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                            Dallas TX 75287
              (v) (585) 359-3000
          (e) gburnham@glazer.com




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                                                                                                          Property            Date
            GMA IDAHO LLC
 c/o Thornton Oliver Keller Commercial RE
          250 S 5th ST, 2nd Floor                                            C/S#0808
              Boise ID 83702                Cottonwood Financial                                              Safe;         February
                                                                           7476 W State St
                                                 Idaho LLC                                              Filing cabinet(s)   25, 2024
                                                                           Boise ID 83703
              (v) (208) 947-0809
       (e) debbie@tokcommercial.com
              Hal R. Dixon Trust
       c/o Black Realty Management Inc
      801 W Riverside Avenue, Suite 510                                       C/S#0811X
              Spokane WA 99201              Cottonwood Financial                                              Safe;         February
                                                                       3134 E Mullan Ave, Ste D
                                                 Idaho LLC                                              Filing cabinet(s)   25, 2024
                                                                          Post Falls ID 83854
               (v) (509)-622-3519
       (e) jlarsen@blackrealtymgt.com
          Harrison Brothers Properties
       c/o KM Realty Management LLC
          5555 San Felipe St, Ste 510
              Houston TX 77056                                               C/S#7201
                                            Cottonwood Financial                                              Safe;         February
                                                                   16702 Stuebner Airline Rd, Ste C
                                                 Texas LLC                                              Filing cabinet(s)   25, 2024
              (v) (713) 275-2614                                          Spring TX 77379
           (e) amada@kmrealty.net

             I Southwest REC Ltd
               Attn: Mark Cohen
            5330 Alpha Rd, Ste 200                                           C/S#0714R
               Dallas TX 75240              Cottonwood Financial                                              Safe;         February
                                                                       1707 S Valley Mills Drive
                                                 Texas LLC                                              Filing cabinet(s)   25, 2024
                                                                           Waco TX 76711
              (v) (972) 991-9590
         (e) mark@centerpointcp.com
           Jack Brown Family III LP
                PO Box 28159
                                                                             C/S#7206
               Austin TX 78755              Cottonwood Financial                                              Safe;         February
                                                                         9139 Grissom Road
                                                 Texas LLC                                              Filing cabinet(s)   25, 2024
                                                                        San Antonio TX 78251
               (v) (512) 413-9060
             (e) paulbjbc@aol.com

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                                                                                                         Property            Date
             James A Kissler LLC
           c/o Colliers International
         755 W Front Street, Suite 300                                          C/S#0818
                Boise ID 83702                Cottonwood Financial                                           Safe;         February
                                                                              3780 W State St
                                                   Idaho LLC                                           Filing cabinet(s)   25, 2024
                                                                              Boise ID 83703
               (v) (208) 345-6321
          (e) lisa.weise@colliers.com
                JANPAC LLC
            16800 W Cleveland Ave
             New Berlin WI 53151                                                 C/S#0238
                                              Cottonwood Financial                                           Safe;         February
                                                                         1256 N Port Washington Rd
                                                 Wisconsin LLC                                         Filing cabinet(s)   25, 2024
             (v) (262) 923-7300                                              Grafton WI 53024
     (e) amancuso@wisconsinvision.com
          JBL Clear Lake LLC (et al)
            c/o JBL Asset Mgt LLC
           2028 Harrison St, Ste 202
             Hollywood FL 33020
                                                                                C/S#7139
               (v) (954) 323-8757             Cottonwood Financial                                           Safe;         February
                                                                            1006 Bay Area Blvd
           (e) george@jblmgmt.com                  Texas LLC                                           Filing cabinet(s)   25, 2024
                                                                            Houston TX 77058

 Parent Co: Highland Shopping Center LLC
 LL (et al): JBL Clear Lake LLC (64.9%) and
    JBL Clear Lake Harvest LLC (35.1%)
     KRG Houston Sawyer Heights LLC
         c/o Kite Realty Group LP
             Attn: Legal Dept
        30 S Meridian St, Ste 1100                                              C/S#7124
                                              Cottonwood Financial                                           Safe;         February
           Indianapolis IN 46204                                           1901 Taylor St, Ste A
                                                   Texas LLC                                           Filing cabinet(s)   25, 2024
                                                                            Houston TX 77007
               (v) (713) 496-3877
        (e) estensgaard@kiterealty.com




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                                                                                                      Property            Date
            LBIF Holdings LLC
              c/o CSM Groups
        10190 Katy Freeway, Suite 350                                       C/S#7111R2
             Houston TX 77043             Cottonwood Financial                                            Safe;         February
                                                                      9375 W FM 1097, Ste 300
                                               Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                          Willis TX 77318
               (v) (713) 266-8799
          (e) f.yousuf@csmgroup.org
                  Lee Cowan
             22334 Briarcliff Drive
             Spicewood TX 78669

                 W/COPY TO:                                                 C/S#7514
                  Lee Cowan               Cottonwood Financial                                            Safe;         February
                                                                        100 E Marshall Ave
                304 Errol Drive                Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                        Longview TX 75601
             Spicewood TX 78669

               (v) (512) 636-3872
          (e) lscowan44@gmail.com

            LeRoy Investments LLC
           c/o LTR Investments LLC
              6415 County Road C                                             C/S#0229
             Sun Prairie WI 53590         Cottonwood Financial                                            Safe;         February
                                                                        1515 Madison Ave
                                             Wisconsin LLC                                          Filing cabinet(s)   25, 2024
                                                                      Fort Atkinson WI 53538
               (v) (680) 393-4468
           (e) support@ltrinvest.com
         LTD West Belt Group Ltd
         c/o Bluebonnet Properties
      1001 S Dairy Ashford Rd, Ste 175                                     C/S#0769
             Houston TX 77077             Cottonwood Financial   9404 W Sam Houston Pkwy S, Ste           Safe;         February
                                               Texas LLC                      D                     Filing cabinet(s)   25, 2024
              (v) (713) 924-8499                                       Houston TX 77099
           (e) support@bbpmc.com




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                                                                                                        Property            Date
       MaxCap Investment Group LLC
         c/o Escom Properties Inc
             3700 74th Ave N                                                   C/S#0228
         Brooklyn Park MN 55443             Cottonwood Financial                                            Safe;         February
                                                                           146 Crossroads Dr
                                               Wisconsin LLC                                          Filing cabinet(s)   25, 2024
                                                                            Plover WI 54467
              (v) (763) 424-0153
      (e) blandry@escomproperties.com
         North Shopping Center LLC
       c/o Republic Central Realty Inc
     400 N Sam Houston Pkwy E, Ste 105                                         C/S#7217
          Houston TX 77060-3531             Cottonwood Financial                                            Safe;         February
                                                                         5675 Treaschwig Road
                                                 Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                           Spring TX 77373
              (v) (713) 410-7771
           (e) ignacio@rcrcorp.com

                  PFNE Ltd
           c/o Sabre Realty Mgt Inc
          16475 Dallas Pkwy, Ste 800                                          C/S#0782
              Addison TX 75001              Cottonwood Financial                                            Safe;         February
                                                                       3797 Forest Ln, Ste 105A
                                                 Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                          Dallas TX 75244
               (v) (972) 931-7400
           (e) carla@sabrerealty.com
           Pleasant Holdings LLC
      c/o Genesis Investment Properties
              2439 Kuser Road                                                   C/S#0231
             Hamilton NJ 08650              Cottonwood Financial                                            Safe;         February
                                                                        7115 Durand Ave, Ste D2
                                               Wisconsin LLC                                          Filing cabinet(s)   25, 2024
                                                                          Sturtevant WI 53177
                (v) 609-571-6352
         (e) ceicholtz@genesis-ip.com
             Pocatello F & G LP
           c/o Frazee Enterprises
     2907 Shelter Island Dr, Ste 105 #276                                      C/S#0813
                                            Cottonwood Financial                                            Safe;         February
            San Diego CA 92106                                         705 Yellowstone Ave, Ste B
                                                 Idaho LLC                                            Filing cabinet(s)   25, 2024
                                                                           Pocatello ID 83201
              (v) (619) 225-1740
       (e) tmartin@frazeeproperties.com
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                                                                                                       Property            Date
          QEH Houston 290 LLC
          c/o Wulfe Mgt Svcs Inc
  1800 Post Oak Blvd, 6 BLVD PL, Ste 400                                      C/S#7108
             Houston TX 77056              Cottonwood Financial                                            Safe;         February
                                                                      7844 W Tidwell Rd, Ste 100
                                                Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                          Houston TX 77040
              (v) (713) 621-2229
             (e) asims@wulfe.com
        Red River Pizza Properties LP
                PO Box 353
              Tioga TX 76271                                                 C/S#0735
                                           Cottonwood Financial                                            Safe;         February
                                                                           960 N Beach St
                                                Texas LLC                                            Filing cabinet(s)   25, 2024
               (v) (940) 437-5590                                        FT Worth TX 76111
           (e) garriottrej@gmail.com
                RH Three LP
         c/o Gregory Commercial Inc
                PO Box 7084                                                   C/S#0731
              Dallas TX 75209              Cottonwood Financial                                            Safe;         February
                                                                          13249 Montfort Dr
                                                Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                           Dallas TX 75240
              (v) (214) 369-1960
        (e) susan.gregcom@gmail.com
            San Angelo WM LLC
  c/o Venture Commercial Management LLC
       8235 Douglas Avenue, Suite 720                                         C/S#7224
               Dallas TX 75225             Cottonwood Financial                                            Safe;         February
                                                                      5150 Southland Blvd, Ste A
                                                Texas LLC                                            Filing cabinet(s)   25, 2024
                                                                        San Angelo TX 76904
             (v) (214) 378-1212
        (e) mwright@venturedfw.com
            SBV - Fox River LLC
          100 N Pond Drive, Suite F
           Walled Lake MI 48390                                              C/S#0252
                                           Cottonwood Financial                                            Safe;         February
                                                                      1180 W Sunset Dr Ste 100
                                              Wisconsin LLC                                          Filing cabinet(s)   25, 2024
                (v) 414-390-1403                                        Waukesha WI 53189
         (e) alee@midamericagrp.com



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                                                                                                      Property            Date
           Spring Family Plaza LLC
               1004 Kirby Drive
              Houston TX 77019                                              C/S#7145
                                             Cottonwood Financial                                         Safe;         February
                                                                     9466 Hammerly Blvd, Ste A
                                                  Texas LLC                                         Filing cabinet(s)   25, 2024
              (v) (713) 807-7339                                         Houston TX 77080
      (e) springfamilyplaza@gmail.com
           TCB-Bear Creek LLC
  c/o Newport Capital Partners Holding LLC
          353 N Clark St, Ste 3625                                             C/S#7207
             Chicago IL 60654                Cottonwood Financial                                         Safe;         February
                                                                            4927 Highway 6
                                                  Texas LLC                                         Filing cabinet(s)   25, 2024
                                                                           Houston TX 77084
               (v) (312) 724-7035
       (e) alan@newportcapitalptrs.com
      The Oaks of Rockport Venture Ltd
          800 Wilcrest Dr, Ste 245
            Houston TX 77042                                                  C/S#7133
                                             Cottonwood Financial                                         Safe;         February
                                                                          2345 Highway 35 N
                                                  Texas LLC                                         Filing cabinet(s)   25, 2024
               (v) (832) 444-6777                                         Rockport TX 78382
         (e) louis@src-properties.com
               TxProp 1 LLC
        5196 Hwy 276 W, Ste B LB 96
            Royse City TX 75189                                                 C/S#7528
                                             Cottonwood Financial                                         Safe;         February
                                                                         305-A South Greer Blvd
                                                  Texas LLC                                         Filing cabinet(s)   25, 2024
               (v) (214) 240-9041                                          Pittsburg TX 75686
         (e) lcrosby@safaridallas.com




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